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             Case 1:21-cv-00531-CL   Document 10   Filed 04/27/21   Page 1 of 5

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                              Case 1:21-cv-00531-CL             Document 10             Filed 04/27/21     Page 2 of 5



                                                                21 CR00693



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              4                     IN THE cmcun COURT OF THE STATE OF OREGON
              5                                   FOR THE COUNTY OF COLUMBIA
              6

              7    STATE OF OREGON                                         CASE NO: 21 CR.00693
                                               Plainlil1:
              8                           v.                               DA NO: _ _ _ _ _ _ _ _ __

              9    ROBERT JAMES SWINT                                      ORDER FINDING THE DEFENDANT
                                    Defendant,                             UNABLE TO AID AND ASSIST AND
             10
                                                                           ORDER TO TRANSPORT IN CUSTODY
             11
                   DO13: 04/18/1988                                        DEFENDANT TO THE OREGON STATE
                   SID: OR17279802                                         HOSPITAL FOR TREATMENT
             12                                                            (ORS 161.370)

             13

(                 This maller ca;nc before the Court 011 ➔ 4 t'?> 1 lc1t( for a dcleimination oflhe
             14
                                                                8
             15   defendant's fitness to proceed pursuant lo ORS 161.370.

             16   The defendant appeared in custody, with counsel Jcnnil'er L. Myrick OS13 # 174210 and Lhc State
             17   appeared through      P.,,, ..,i:,L ( ~                    , OSB ii    C)? 3 5'1/£
             18   The Court finds that defendant is charged with Lhe following offenses tJisted in order of
             19   seriousness by crime classification):

             20   Crime Name:        Crime ORS#:       Felony/Misd/Viol:     Maxi111un1_Sentence:   Booking Dale:

    (        21   I.       S1alking l63.732(2)(a).     Cluss A Misdemeanor 364 Days                 1/6/2021

             22   2,       Stalking 163.732(2)(.a).     Class A Misdemeanor 364 Days                1/6/2021

             23   3.
             24   4.
             25 . 5.

             26   6,   '

                  Page tor 5- (7119) Original 10: Courl / Copies lo: Jail/OSI-I/Defendant/Defense AHomey/Districl
                  Attomey/.ludge
     Case 1:21-cv-00531-CL   Document 10   Filed 04/27/21   Page 3 of 5

CASENO:   2:21cv02194
DOCUMENT: 4




Robert Swint
c/o Oregon State Hospital
2600 Center St. NE
Salem, OR 97301-268




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           Case 1:21-cv-00531-CL   Document 10   Filed 04/27/21   Page 4 of 5


Case: 2:2lcv2707   Doc: 4




Robert James Swint
Oregon State Hospital
2600 Center St., NE
Salem, OR 97301-2682
     Case 1:21-cv-00531-CL               Document 10            Filed 04/27/21            Page 5 of 5




                    UN1TED STATES COURT OF APPEALS
                         FOR THE NINTH CIRCUIT
 Form 4. Moti:0n arnd Affidavit for Permission to Proceed in Forma Pauperis
    Instructions for this form: http://www. ca9. uscourts. govlformslform04instructions. pd(

9th Cir. Case Number(s)
                                 L.....--------------------'
Case Name

Affidavit in support of motion: I swear under penalty of perjury that I am
financially unable to pay the docket and filing fees for my appeal. I believe my
appeal has merit. I swear under penalty of perjury under United States laws that
niy answers on this form are true and correct. 28 U.S.C. § 1746; 18 U.S.C. § 1621.

Signature                                                              Date
            L.....---------'-------'
The court may grant.~ motion to proceed in forma pauperis if you show that you
cannot pay the filing fees and you have a non-frivolous legal issue on appeal.
Please state your issues on appeal. (attach additional pages if necessary)




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Form4                                                 1                                         Rev. 12/01/2018
